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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                   Chapter 11
In re
                                                   Case No. 19 - 10289 (LSS)
IMERYS TALC AMERICAN, INC., et al.                 (Jointly Administered)

                      Debtors.                     NOTICE OF APPOINTMENT OF OFFICIAL
                                                   COMMITTEE OF TORT CLAIMANTS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following
persons to the Official Committee of Tort Claimants in connection with the above-captioned cases:



1.            Robin Alander, c/o W. Mark Lanier, Esq. and Maura Kolb, Esq., 10940 West Sam
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5.            Lloyd Fadem, as representative of the estate of Margaret Ferrell, c/o Steve Baron,
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6.            Timothy R. Faltus, as representative of the estate of Shari C. Faltus, c/o James G.
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9.            Lynne Martz, c/o Ashcraft & Gerel, LLP, 1825 K Street, NW, Suite 700,
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11.           Charvette Monroe, as representative of the estate of Margie Evans, c/o John R.
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                                            ANDREW R. VARA
                                            Acting United States Trustee, Region 3


                                            /s/ Linda Richenderfer for
                                            T. PATRICK TINKER
                                            ASSISTANT UNITED STATES TRUSTEE

DATED: March 5, 2019

Attorney assigned to this Case: Linda Richenderfer and Juliet Sarkessian, Phone: (302) 573-6491,
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